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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


PUBLIC CITIZEN, INC., STATE
DEMOCRACY DEFENDERS
FUND, and AMERICAN
FEDERATION OF
GOVERNMENT EMPLOYEES,
                                           Civil Action No. 1:25-cv-164
          Plaintiffs,

            v.

DONALD J. TRUMP, in his official
capacity as President of the United
States, and OFFICE OF
MANAGEMENT AND BUDGET,

          Defendants.


CERTIFICATE REQUIRED BY LCVR 26.1 OF THE LOCAL RULES OF THE
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

      I, the undersigned, counsel of record for plaintiff Public Citizen, Inc. certify

that to the best of my knowledge and belief, the following are parent companies,

subsidiaries, affiliates, or companies which own at least 10 percent of the stock of

Public Citizen which have any outstanding securities in the hands of the public:

      None.

      These representations are made in order that judges of this Court may

determine the need for recusal.
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Dated: January 20, 2025                   Respectfully submitted,

                                          /s/ Nandan M. Joshi
                                          Nandan M. Joshi (DC Bar No. 456750)
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